          Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 1 of 18



                       IN THE UNITED STATES DISTRICT COURT
                                                                                            !'
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                                      2U1'UG 18 PM 3:26


FEDERAL           DEPOSIT          INSURANCE
CORPORATION             AS    RECEIVER FOR
GUARANTY BANK,
                               Plaintiff,

-vs-                                                                    Case No. A-14-CA-129-SS

GOLDMAN, SACHS & CO. and DEUTSCHE
BANK SECURITIES INC.,
                      Defendants.



                                             ORDER

       BE IT REMEMBERED on this day the Court reviewed the file in the above-styled cause, and

specifically Defendants Goldman, Sachs & Co. and Deutsche Bank Securities Inc.'s Motion for

Judgment on the Pleadings [#51], Plaintiff Federal Deposit Insurance Corporation's Response [#55],

and Defendants' Reply [#56]. Having reviewed the documents, the governing law, and the file as a

whole, the Court now enters the following opinion and orders GRANTING the motion.

                                            Background

       In 2004 and 2005, Guaranty Bank paid some $2.1 billion for twenty residential mortgage-

backed securities certificates, including four certificates from the Defendants in this case. Guaranty

Bank subsequently failed, and the FDIC was appointed as receiver on August 21, 2009. The FDIC

filed this lawsuit in Texas state court on August 17, 2012, alleging the live Defendants and several

others violated the Securities Act of 1933 and the Texas Securities Act by making material

misstatements and omissions concerning the mortgages underlying the securities.




                                                                                                         I
             Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 2 of 18



         The case was initially removed to this Court, but the FDIC prevailed on a motion to remand

and the case was returned to the state court. See FDIC v.         Ally Secs.   LLC, No.    1:1   2-CV-872-SS (W.D.

Tex. Dec. 5, 2012). The case proceeded before the state district court, and the parties eventually

briefed and argued a summary judgment motion. Before the state court could render a decision on

that dispositive motion, the FDIC settled all of its 1933 Act claims, leaving only its TSA claims

against the live Defendants. The case was then removed to this Court for the second time.

         Defendants now move for judgment on the pleadings under Federal Rule of Civil Procedure

12(c). Defendants contend the FDIC's TSA claims are barred by the TSA's five-year statute of

repose,' relying heavily on the United States Supreme Court's recent decision in CTS                          Corp.   v.




Waldburger,     134 5. Ct. 2175 (2014), which held state statutes            of repose are not preempted by the

Comprehensive Environmental Response, Compensation, and Liability Act of 1980 (CERCLA). The

FDIC counters the TSA's statute of repose is preempted by the FDIC Extender Statute, 12 U.S.C.

§   182 1(d)(14), a provision of the Financial Institutions Reform, Recovery, and Enforcement Act of

1989 (FIRREA). Because the FDIC Extender Statute allows the FDIC up to three years from the date

on which it is appointed as receiver for a failed bank to bring claims on behalf of the bank, the FDIC

contends its TSA claims are timely.




         1
           TEX. Rev. CIV. STAT. At.m. art. 581 -33(h)(2)(b) (providing "[nb person may sue" under the TSA "more than
five years after the sale" of the securities at issue); see also Allen v. Devon Energy Holdings, L.L. C., 367 S.W.3d 355,
401 (Tex. AppHouston [1st Dist.] 2012, pet. granted,judgm'tvacated w.r.m.) (discussingthe TSA' s "five-yearrepose
period"); In re Countrywide Fin. Corp. Mortg.-BackedSecs. Litig., 966 F. Supp. 2d 1018, 1023-24 & n.3 (C.D. Cal.
2013) (Guaranty I) (holding article 581-33(H)(2)(b) is a five-year statute of repose, and collecting Texas cases so
holding).

                                                          -2-
          Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 3 of 18



                                                  Analysis

I.      Legal Standard

        Federal Rule of Civil Procedure 12(c) provides: "After the pleadings are         closedbut early
enough not to delay triala party may move for judgment on the pleadings."            FED. R.   Civ. P. 12(c).

Motions for judgment on the pleadings are "designed to dispose of cases where the material facts

are not in dispute and a judgment on the merits can be rendered by looking to the substance of the

pleadings and any judicially noticed facts." Great Plains Trust Co.     v.   Morgan Stanley Dean Witter

& Co., 313 F.3d 305, 312 (5th Cir. 2002) (internal quotation marks omitted). "A motion for

judgment on the pleadings under Rule 12(c) is subject to the same standard as a motion to dismiss

under Rule 12(b)(6)." Doe    v.   MySpace, Inc., 528 F.3d 413, 418 (5th Cir. 2008).

        A motion under Federal Rule of Civil Procedure 12(b)(6) asks a court to dismiss a complaint

for "failure to state a claim upon which relief can be granted." FED. R. Civ. P. 12(b)(6). The plaintiff

must plead sufficient facts to state a claim for relief that is facially plausible. Ashcroft v. Iqbal, 556

U.s. 662, 678 (2009); Bell Atl. Corp.     v.   Twombly, 550 U.S. 544, 570 (2007). "A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged." Iqbal, 566 U.S. at 678. Although

a plaintiffi s factual allegations need not establish that the defendant is probably liable, they must

establish more than a "sheer possibility" that a defendant has acted unlawfully. Id. Determining

plausibility is a "context-specific task," and must be performed in light of a court's "judicial

experience and common sense." Id. at 679.

        In deciding a motion to dismiss under Rule 1 2(b)(6), a court generally accepts as true all

factual allegations contained within the complaint. Leatherman               v.   Tarrant Cnty. Narcotics


                                                     -3-
          Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 4 of 18



Intelligence & Coordination Unit, 507 U.S. 163, 164 (1993). However, a court is not boundto accept

legal conclusions couched as factual allegations. Papasan         v.   Allain, 478 U.S. 265, 286 (1986).

Although all reasonable inferences will be resolved in favor of the plaintiff, the plaintiff must plead

"specific facts, not mere conclusory allegations." Tuchman v. DSC Commc 'ns Corp., 14 F.3d 1061,

1067 (5th Cir. 1994). In deciding a motion to dismiss, courts may consider the complaint, as well

as other sources such as documents incorporated into the complaint by reference, and matters of

which a court may take judicial notice. Tellabs, Inc.   v.   Makor Issues & Rights, Ltd., 551 U.S. 308,

322 (2007).

II.    Application

       Defendants' no-preemption argument is premised on an application of the Supreme Court's

reasoning in Waldburger to the FDIC Extender Statute contained in FIRREA. Because Waldburger

is central to the parties' dispute, the Court begins with a discussion of the case. Then, following the

analytical path laid by the Supreme Court, the Court analyzes the FDIC Extender Statute's text,

legislative history, and statutory purpose. Ultimately, a faithful application of Waldburger' s logic

to the FDIC Extender Statute compels the conclusion the TSA' s statute of repose is not preempted,

and operates to bar the FDIC's untimely claims.

A.     The Waldburger Decision

       In Waldburger, the Supreme Court was called upon to interpret 42 U.S.C. § 9658, a provision

of CERCLA. 134 S. Ct. at 2180. Section 9658 extends the "discovery rule" to toxic tort cases

because ofthe latent nature of many chemical-induced injuries, and "by its terms pre-empts statutes

of limitations applicable to state-law tort actions in certain circumstances." Id. The question before

the Court was whether   §   9658 also preempts state statutes of repose.
           Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 5 of 18



       The Supreme Court granted certiorari to resolve a split of authority among the lower courts

on this question. The Fourth Circuit below had held       §   9658 is ambiguous, but should be construed

to preempt state statutes of repose in order to give effect to CERCLA' s remedial purpose. Id. at

218 1-82. In so holding, the Fourth Circuit agreed with the Ninth Circuit, which had addressed the

question several years earlier. See McDonald v. Sun Oil Co., 548 F.3d 774, 779 (9th Cir. 2008),

abrogated by Waldburger, 131 S. Ct. at 2180. On the other side of the divide, the Fifth Circuit and

the Supreme Court of South Dakota had both held § 9658 only preempts state statutes of limitations,

not state statutes of repose. See Burlington N. & Santa Fe Ry. Co.     v.   Poole Chem. Co., 419 F.3d 355,

362 (5th Cir. 2005) (BNSF); Clark Cnty.    v.   Sioux Equip. Corp., 753 N.W.2d 406, 417 (S.D. 2008).

The Supreme Court sided with the latter courts, holding § 9658 does not preempt state statutes of

repose. Waldburger, 132 S. Ct. at 2180.

       The Supreme Court began its analysis by distinguishing between statutes of limitations and

statutes of repose. Id. at 2182. Recognizing "both are mechanisms used to limit the temporal extent

or duration of liability for tortious acts," the Court distinguished the two by virtue of their timing,

purposes, and objectives. Id. Statutes of limitations "create[] a time limit for suing in a civil case,

based on the date when the claim accrued," generally meaning the date "when the injury occurred

or was discovered." Id. (internal quotation marks omitted). By contrast, statutes of repose "put[] an

outer limit on the right to bring a civil action" based on "the date of the last culpable act or omission

of the defendant" rather than the date of accrual. Id. The Court characterized a statute of repose as

"equivalent to a cutoff," noting it may bar a suit even "before the plaintiff has suffered a resulting

injury" or learned of a claim. See id. at 2182-83 (internal quotation marks omitted). Statutes of

repose provide "a fresh start or freedom from liability." Id. at 2183. To highlight this distinction, the


                                                    -5-
             Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 6 of 18



Court noted statutes of limitations are often subject to equitable tolling in extraordinary

circumstances, but statutes of repose are not. Id.

         With those distinctions in mind, the Court turned to its analysis of § 9658. The Court began

by analyzing the text of the       statute,2   because "Congressional intent is discerned primarily from the

statutory text." Id. at 2185. The framework of § 9658 expressly makes preemption "an '{e]xception'


         2
           Section 9658 reads, in relevant part, as follows:
(a) State statutes of limitations for hazardous substance cases
         (1) Exception to State statutes
         In the case of any action brought under State law for personalinjury, or property damages, which are caused
         or contributed to by exposure to any hazardous substance, or pollutant or contaminant, released into the
         environment from a facility, if the applicable limitations period for such action (as specified in the State statute
         oflimitations or under common law) provides a commencementdate which is earlier than the federally required
         commencement date, such period shall commence at the federally required commencement date in lieu of the
         date specified in such State statute.
         (2) State law generally applicable
         Except as provided in paragraph (1), the statute of limitations established under State law shall apply in all
         actions brought under State law for personal injury, or property damages, which are caused or contributed to
         by exposure to any hazardous substance, or pollutant or contaminant, released into the environment from a
         facility.

(b) Definitions

         (2) Applicable limitations period
         The term "applicable limitations period" means the period specified in a statute of limitations during which a
         civil action referred to in subsection (a)( 1) of this section may be brought.
         (3) Commencement date
         The term "commencement date" means the date specified in a statute of limitations as the beginning of the
         applicable limitations period.
         (4) Federally required commencement date
       (a) In general
       Except as provided in subparagraph (B), the term "federally required commencement date"
       means the date the plaintiff knew (or reasonably should have known) that the personal injury
       or property damages referred to in subsection (a)(1) of this section were caused or
       contributed to by the hazardous substance or pollutant or contaminant concerned.
       (b) Special rules
       In the case of a minor or incompetent plaintiff, the term "federally required commencement
       date" means the later of the date referred to in subparagraph (A) or the following:
       (i) In the case of a minor, the date on which the minor reaches the age of majority, as
       determined by State law, or has a legal representative appointed.
       (ii) In the case of an incompetent individual, the date on which such individual becomes
       competent or has had a legal representative appointed.
42 U.S.C. § 9658.
              Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 7 of 18



to the regular rule." Id. (quoting 42 U.S.C.      §   9658(a)(1)). The phrase "statute of limitations" is used

"four times (not including the caption)," but "statute of repose" never appears. Id. The Court found

this feature "instructive,   but..   .   not dispositive" because congress has a history of using the term

"statute of limitations" in a broad manner, including when enacting statutes of repose. Id. (citing 15

U.S.C.   §   78u-6(h)(1)(B)(iii)(I)(aa) and 42 u.s.c.       §   2278 as examples of federal statutes of repose

labeled statutes of limitations).

         Because congress sometimes calls statutes of repose statutes of limitations, the Court looked

for "other evidence ofthe meaning ofthe term 'statute of limitations' as it is used in § 9658." Id. The

Court examined a range of historical legal materials in an attempt to discern what the drafters of

CERCLA might have understood when they enacted the statute in 1986. Id. at 2185-86. The Court

concluded "the distinction between statutes of limitations and statutes of repose was understood by

some courts and scholars before 1986." Id. at 2185. The distinction was sufficiently established that

a 1982 Study Group Report commissioned by Congress in the process of enacting CERCLA referred

to both statutes of limitations and statutes of repose, and expressly recommended Congress repeal

both kinds of statutes. Id. at 2186. Given this historical background, the Court found Congress's

failure to expressly refer to statutes of repose indicative of Congress's intent to "not exercise the full

scope of its pre-emption power." Id.

         Returning to its textual analysis, the Court noted          §   9658 repeatedly refers to the period of

time it covers in the singular. Id. at 2186-87. "The statute uses the terms 'the applicable limitations

period,' 'such period shall commence,' and 'the statute of limitations established under State law.'

This would be an awkward way to mandate the pre-emption of two different time periods with two

different purposes." Id. Additionally, by defining the applicable limitations period "as 'the period'


                                                          -7-
          Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 8 of 18



during which a 'civil action' under state law 'may be brought,"          §   9658 "presupposes that 'a

[covered] civil action' exists." Id. at 2187 (quoting 42 U.S.C.   §   9658(b)(2)). Because a statute of

repose "can prohibit a cause of action from coming into existence," this language presupposing an

accrued claim "is best read to encompass only statutes of limitations." Id. Finally, § 9658 authorizes

equitable tolling for minor and incompetent plaintiffs, which is one of the "critical distinction[s]"

between statutes of limitations (which allow tolling) and statutes of repose (which do not). Id.

(internal quotation marks omitted).

       Turning to the purpose of CERCLA, the Court rejected the argument             §   9658 impliedly

preempts state statutes of repose because such statutes prevent Congress's goals from being

accomplishednamely, "help[ing] plaintiffs bring tort actions for harm caused by toxic

contaminants." Id. at 2188. The Court criticized this framing of CERCLA's purpose as too general,

explaining CERCLA is only one part of a complex network of legal remedies. See        id.   "Section 9658

leaves untouched States' judgments about causes of action, the scope of liability, the duration ofthe

period provided by statutes of limitations, burdens of proof, rules of evidence, and other important

rules governing civil actions." Id. Given Congress's decision to leave those vast swaths of state law

untouched, the Court found "[t]he case for federal pre-emption.. . particularly weak." Id. (internal

quotation marks omitted).

       Finally, despite finding preemption foreclosed by "the natural reading of § 9658's text," the

Court noted the traditional presumption against preemption gave additional support to its conclusion.

Id. at 2188-89. Even assuming § 9658 could be plausibly read to favor preemption         of state statutes

of repose, the presumption cautions in favor of"a narrow interpretation" given the States' traditional




                                                 -8-
           Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 9 of 18



role in establishing tort law. Id. Accordingly, the Court concluded           §    9658 does not preempt state

statutes of repose.

B.      The FDIC Extender Statute

        The FDIC contends its claims are timely because the FDIC Extender Statute contained in

FIRREA preempts the TSA's five-year statute of repose. The FDIC Extender Statute provides, in

relevant part:

        (14) Statute of limitations for actions brought by conservator or receiver

                  (A) In general

                  Notwithstanding any provision of any contract, the applicable statute of
                  limitations with regard to any action brought by the [FDIC] as conservator or
                  receiver shall be
                          (ii) in the case of any tort claim.   . .   the longer   of
                                   (I) the 3-year period beginning on the date the claim accrues;
                                   or
                                   (II) the period applicable under State law.

                   (B) Determination of the date on which a claim accrues

                   For purposes of subparagraph (A), the date on which the statute of limitations
                   begins to run on any claim described in such subparagraph shall be the later
                   of
                          (i) the date of the appointment of the {FDIC] as conservator or
                          receiver; or

                          (ii) the date on which the cause of aëtion accrues.

12 U.S.C. §      1821(d)(14)(A)(B).

        The Court's task is to analyze this provision in light of the Supreme Court's decision in

Waldburger.
          Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 10 of 18



1.      Statutory Text

       The Court begins with the text of the statute, because "Congressional intent is discerned

primarily from the statutory text." Waldburger, 134 S. Ct. at 2185; see also BNSF, 419 F.3d 362 ("A

court considers the language used in a statute as conclusive unless Congress has clearly expressed

a contrary intent."). Like   §   9658 of CERCLA, the FDIC Extender Statute uses the term "statute of

limitations" several times, but never mentions statutes of repose. E.g., 12 U.S.C.             §   1821 (d)( 1 4)(A),

(B). "This is instructive, but not dispositive." Waldburger, 134 5. Ct. at 2185.                   If Congress had

intended to preempt state statutes of repose, it certainly could have said so; its failure to do so is

therefore an important indication of its intent, unless Congress has elsewhere expressed a specific

desire to include statutes of repose within the sweep of the FDIC Extender Statute. See id. at

2185-86; see also BNSF, 419 F.3d at 364 ("The plain language of 9658, however, refers to state

statutes of limitationsnot state statutes of repose. This court is bound by that plain language, absent

express congressional intent to the contrary. Congress did not express a contrary intent in this

instance." (footnote omitted)).

        Also like § 9658, the FDIC Extender Statute is tied to the concept of accrual. Just as § 9658

presupposes a claim exists and therefore can be brought, the FDIC Extender Statute's operation

hinges on the date the FDIC's claims3 accrue. The FDIC Extender Statute states "the applicable

statute of limitations.. . shall be" the longer of the "period beginning on the date the claim accrues"

or "the period applicable under State law." 12 U.S.C.         §   1821(d)(14)(A)(i)(ii). The next subsection

of the statute is dedicated to determining the accrual date of claims. Id.        §   1821 (d)(14)(B) (captioned

"Determination of the date on which a claim accrues"). Because statutes of repose "may preclude


         In this instance, any claims are technically Guaranty Bank's claims, inherited by the FDIC as its receiver.
              Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 11 of 18



an alleged tortfeasor' s liability before a plaintiff is entitled to sue, before an actionable harm ever

occurs," the statutory focus on claim accrual suggests the statute should be "read to encompass only

statutes of limitations." Waldburger, 134 S. Ct. at 2187.

          Continuing this trend, the FDIC Extender Statute is also nearly identical to                      §   9658 in its

repeated references to a singular time period. The FDIC Extender Statute sets forth "the applicable

statute of limitations," "the date on which the statute of limitations begins to run," and references

both "the period applicable under State law" and "the date on which the cause of action accrues."

12 U.S.C. § 1821 (d)( 1 4)(A)(B). "This would be an awkward way to mandate the pre-emption                                of

two different time periods with two different purposes." Waldburger, 134 5. Ct. at 2187.

          The FDIC attempts to distinguish the FDIC Extender Statute from                         §   9658 by arguing the

FDIC Extender Statute "replaces" state law limitations periods, whereas                       §   9658 merely "alters"

them. No such distinction can be drawn between the statutes. Section 9658 alters state limitations

periods only when the state limitations period commences from an earlier date. 42 U.S.C.

§   965 8(a)( 1) ("[I]f the application limitations period for such action (as specified in the State statute

of limitations or under common law) provides a commencement date which is earlier than the

federally required commencement date, such period shall commence at the federally required

commencement date in lieu of the date specified in such State statute." (emphasis added)). In other

words,    §   9658 imposes a federal discovery rule on toxic tort claims even where state limitations


            The FDIC argues Congress also uses the term "accrues" when enacting statutes of repose, suggesting the
accrual language in the FDIC Extender Statute does not evince any intent to exclude statutes of repose. The first half of
this argument is undeniably true, both of Congress and state legislatures. The state statute of repose at issue in
Waldburger even used the term "accrue." See N.C. GEN. STAT. ANN. § 1-52(16) ("[Nb cause of action shall accrue more
than 10 years from the last act or omission of the defendant giving rise to the cause of action."). But the FDIC's
conclusion does not follow from its premise. As the Supreme Court explained in Waldburger, statutes of repose are "not
related to the accrual of any cause of action," and therefore it makes no sense to read a statute setting forth accrual dates
as preempting statutes of repose. 134 S. Ct. at 2187 (internal quotation marks omitted).

                                                           -11-
           Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 12 of 18



periods would not include such a rule.      See    id.   §   965 8(b)(4)(A) (defining the "federally required

commencement date" as "the date the plaintiff knew (or reasonably should have known)" the injury

was "caused or contributed to by" a toxic substance). In either case, the "applicable limitations

period" is drawn from the state statute of limitations. Id.       §   9658(b)(2). Similarly, the FDIC Extender

Statute alters state statutes of limitations only when they are shorter than the alternative federal

limitations period; if the state statute is more generous, its terms continue to apply. See 12 U.S.C.

§   1821 (d)( 1 4)(A)(ii) (the "applicable statute   of limitations" for tort claims is "the longer of" the

three-year federal limitations period or the state law limitations period).

         The FDIC also argues the FDIC Extender Statute is materially different from § 9658 because

§   9658's preemption clause is structured as an "exception" to the general rule that state statutes of

limitations apply. By contrast, says the FDIC, the FDIC Extender Statute applies broadly to "any

action brought by [the FDIC]." 12 U.S.C.       §   1821(d)(14)(A). This is also a distinction not found in

the statutes. Section 9658, though couched as an exception, plainly applies to "any action" within

the scope of CERCLA's environmental tort protections. 42 U.S.C.                 §   9658(a)(1). The "exception"

merely limits the use of the "federally required commencement date," which itself is merely an

incarnation of the discovery rule. Id. Section 9658 thus ensures all claims within CERCLA's

coverage receive the benefit of the discovery rule, either by operation of state law or by operation

of § 9658's "exception" to state law. Similarly, the FDIC Extender Statute leaves in place state

statutes of limitations unless they are shorter than the statute's supplied federal limitations period.

See 12 U.S.C.    §   1821(d)(14)(A)(ii); In re Countrywide Fin. Corp. Mortg.-BackedSecs. Litig., 966

F. Supp. 2d 1018, 1027 (C.D. Cal. 2013) (Guaranty I) ("[T]he extender provision saves state statutes

of limitations from preemption to the extent they exceed the prescribed federal limitations period.")


                                                         -12-
          Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 13 of 18



Both statutes thus modify state law in some, but not all, circumstances, and expressly apply to "any

action" within their respective scopes.

        The only substantial distinction the FDIC can draw between        §   9658 and the FDIC Extender

Statute is the lack of equitable tolling in the latter. Defendants are quick to point out other portions

of FIRREA do speak in terms oftolling. See, e.g., 12 U.S.C. § 1821 (d)(5)(F)(i) (jroviding "the filing

of a claim with the receiver shall constitute a commencement of an action" for purposes of tolling

any statutes of limitations); id.   §   1821 (d)(8)(E)(i) (same). But these provisions do not provide for

equitable tolling, which was the focus of the Waldburger Court's analysis on this point. Moreover,

the tolling provisions cited above concern the tolling of state statutes of limitations for claimants

filing claims with the FDIC as receiver; those claims are not the same claims subject to the FDIC

Extender Statute. Although the case for preemption would be stronger if the FDIC Extender Statute

authorized equitable tolling like § 9658 does, the absence of an equitable tolling provision alone does

not mandate preemption of state statutes of repose.

2.      Legislative History

        The history of the FDIC Extender Statute and Congress's understanding of statutes of

limitations versus statutes of repose is also relevant insofar as it may shed light on what Congress

meant when it repeatedly used the phrase "statute of limitations" in the FDIC Extender Statute. See

Waldburger, 134 S. Ct. at 2186-87 (examining "other evidence of the meaning of the term 'statute

of limitations' as used in § 9658"). The history of the FDIC Extender Statute does not provide any

evidence Congress meant anything other than what it said in the statute: state statutes of limitations

(not repose) are preempted under the circumstances set forth in           §   1821 (d)( 14). Moreover, the

understanding Congress had of statutes of limitations and statutes of repose at the time CERCLA


                                                     -13-
             Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 14 of 18



was passed in 1986 can fairly be imported to Congress three years later when it enacted the FDIC

Extender     Statute.5   As the Supreme Court explained in Waldburger, although use of those two terms

"has not always been precise," the distinction between the two was reflected in the 1982 Study

Group Report Congress commissioned as part of CERCLA's enactment. 134 S. Ct. at 2187.

Additionally, in rejecting the FDIC' s motion to reconsider its prior ruling holding the FDIC Extender

Statute did not preempt the TSA' s statute of repose, the Guaranty I court found "statements in the

Congressional Record both prior to and contemporaneous with the enactment of FIRREA suggest

that Congress understood the meaning of the term 'statute of repose' but nevertheless failed to use

it in the extender statute." In re Countrywide Fin. Corp. Mortg. -Backed Secs. Litig., 966 F. Supp.

2d 1031, 1037 (C.D. Cal. 2013) (Guaranty II).

3.       Statutory Purpose

         Like the unsuccessful respondents in Waldburger, the FDIC suggests clear statutory text

should be massaged to mean something else in order to advance the generalized goal of the statute.

Here, the FDIC contends the FDIC Extender Provision must be interpreted to preempt state statutes

of repose in order to ensure the FDIC has adequate time to investigate and bring claims inherited

from failed    banks.6    This is the same basic goal-oriented reasoning rejected by Waldburger. 134 S.


            Analyzing the issue without the benefit of Waldburger, the Guaranty I court found the use of the phrase
"statute of limitations" was ambiguous because "Congress and federal courts continued to confuse the terms 'statute of
limitations' and 'statute ofrepose' in 2008." Guaranty 1,966 F. Supp. 2d at 1026. Despite this ambiguity, the court found
no legislative history sufficient to "overcome the presumption that Congress did not intend to preempt areas oftraditional
state regulation," and held the ISA' s statute of repose was not preempted. Id. at 1027.

         6
            This is, in essence, a "conflict preemption" argument. The Guaranty I court rejected this argument, fmding
any conflict was insufficient to justif' preemption. 996 F. Supp. 2d at 1028-29 (collecting cases holding "a federal
interest in preserving the deposit insurance fund is insufficient to preempt state laws"). The Court agrees with Guaranty
i's assessment of this argument. See Id. at 1029-30 ("Preemption in this case would effectively permit the FDIC to
succeed to a substantially different right than that held by Guaranty Bank. FIRREA does not manifest Congress' [s] intent
to alter the very nature of state claims to better enable the FDIC to enrich the deposit insurance fund." (citations
omitted)).

                                                          -14-
            Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 15 of 18



Ct. at 2185 (noting "no legislation pursues its purposes at all costs" (internal quotation marks

omitted)). FIRREA, like CERCLA, "does not provide a complete remedial framework." Id. at 2188.

Instead, FIRREA is part of a broader network of laws, including large amounts of state law, used to

advance the goals of the FDIC. Like CERCLA, FIRREA "leaves untouched States' judgments about

causes of action, the scope of liability, the duration of the period provided by statutes of limitations,

burdens of proof, rules of evidence, and other important rules governing civil actions." Id. As in

Waldburger, then, the case for preemption here is "particularly weak." Id. (internal quotation marks

omitted).

         In sum, a faithful application of Waldburger' s analytical framework to the FDIC Extender

Statute compels the conclusion the FDIC Extender Statute does not preempt state statutes of repose.

See Guaranty I, 966 F. Supp. 2d at 1024-30 (reaching the same conclusion pre-Waldburger);

Guaranty II, 966 F. Supp. 2d 1036-45 (rejecting numerous arguments raised by the FDIC urging

reconsideration of Guaranty ]).7

C.        The FDIC's Pre-Waldburger Authorities

          The FDIC also relies on a number of pre-Waldburger authorities interpreting the FDIC

Extender Statute. Unfortunately for the FDIC, none of the cited authorities conduct the same analysis

as the Supreme Court did in Waldburger, and none requires this Court to hold in the FDIC's favor.

          Two Fifth Circuit cases form the vanguard of the FDIC' s army of authorities. The first, FDIC

v.   Barton, 96 F.3d 128 (5th Cir. 1996), did not address the issue raised in this case. To the extent



           The FDIC is understandably upset by the Guaranty I court's decision to dismiss its TSA claims. The FDIC
now characterizes the Guaranty I decision as contrary to that court's own precedent. However, the Guaranty I court
addressed that argument, explaining its prior decisions "never held explicitly that Section 1821 (D)( 14) extends state
statutes of repose." 966 F. Supp. 2d at 1023. Noting that question had "troubled the Court for some time," the Court
thoroughly analyzed the issue and held the FDIC Extender Statute does not preempt state statutes of repose. Id.

                                                         -15-
              Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 16 of 18



Barton is relevant at all, it is relevant only in that it recognizes FIRREA, through the FDIC Extender

Statute, "provides a federal statute of limitations for claims brought by [the FDIC] as receiver." 96

F.3d at 132. That proposition is not disputed here, but it also says nothing about whether FIRREA

also preempts state statutes of repose. The second Fifth Circuit case is Stonehedge/FASA-Tex. JDC

v.   Miller, 110 F.3d 793, 1997 WL 119899 (5th Cir. 1997) (unpublished). First, Stonehedge is not a

published opinion and is therefore not binding precedent. Second, Stonehedge rejected the notion

that statutes of limitations and statutes of repose should be treated differently, explaining the

preemption analysis "does not turn on whether the state statute is 'procedural' [meaning a statute of

limitations] or 'substantive' [meaning a statute of repose] ." 1997 WL 119899, at *2. This reasoning

is directly contrary to both Waldburger and binding Fifth Circuit precedent. See Waldburger, 132

S. Ct. at 2 185-87; BNSF, 419 F.3d at 363-64 (explaining the important differences between statutes

of limitations and statutes of repose, and holding § 965 8's plain language only preempts the former).

Third, Stonehedge ultimately concluded the state law at issue, a provision of the Texas Property

Code, was a statute of limitations, not a statute of repose. 1997 WL 119899, at *3 Given these

distinctions, Stonehedge offers no support for the FDIC's             position.8


          Next up is Federal Housing Finance Agency v. UBS Americas Inc., 712 F.3d 136 (2d Cir.

2013), which held a similar extender statute found in the Housing and Economic Recovery Act of

2008 preempted state statutes of repose as well as state statutes of limitations. First, UBS is not



          8
          Somewhat surprisingly, the FDIC makes no effort to address BNSF, a published Fifth Circuit opinion holding
§ 9658 does not preempt a Texas statute of repose using analysis remarkably similar to the Supreme Court's in
Waldburger. See BNSF, 419 F.3d at 363-64. The logic of that case, which properly interpreted CERCLA' s extender
provision nearly a decade before the Supreme Court addressed the issue in Waldburger, applies with equal force to the
FDIC Extender Statute, and suggests state statutes of repose are not preempted. See id. at 364 ("The plain language of
§ 9658, however, refers to state statutes of limitationsnot state statutes of repose. This court is bound by that plain
language, absent express congressional intent to the contrary.").

                                                        -16-
           Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 17 of 18



binding law in this circuit, and the Court may disregard it for that reason alone. Second, UBS's

conclusion is irreconcilable with the Supreme Court's interpretation of § 9658 in Waldburger, and

it is ultimately the Supreme Court's analysis which must control. Because the Court declines to

follow UBS, the Court is unpersuaded by the several district court opinions the FDIC cites which rely

primarily on UBS in reaching their conclusions.

          To the extent any of these authorities suggest the FDIC Extender Provision is at least

ambiguous, Waldburger mandates the narrower interpretationholding state statutes of repose are

not preemptedmust control. See Waldburger, 134 5. Ct. at 2 188-89 (applying the presumption

against   preemption).9    The Court also rejects the FDIC's argument any ambiguity in the FDIC

Extender Statute should be construed in favor of the government. First, the statute is not ambiguous:

it plainly applies only to statutes of limitations. Second, the FDIC in its role as receiver "steps into

the shoes" of Guaranty Bank, and should therefore be treated as any other private litigant. See

0 'Melveny    & Myers v. FDIC, 512 U.S. 79, 86-87 (1994) (internal quotation marks omitted)

(declining the FDIC's invitation to create federal common law to supplement FIRREA in light of

its "high federal interest").

                                                    Conclusion

          In sum, the FDIC Extender Statute, like the CERCLA extender statute, preempts only state

law statutes of limitations; it says nothing about state statutes of repose. Given this holding, there

is no dispute the TSA's five-year statute            of repose bars all of the FDIC's claims against the


         9The portion ofthe Supreme Court's opinion in Waldburger which applied the presumption against preemption
did not gamer majority support. The four justices who joined all but that portion of the opinion did so because, as
explainedby Justice Scalia in his concurrence, "ordinary principles of statutory construction demonstrate that 42 U.S.C.
§ 9658 pre-empts only statutes of limitation and not statutes of repose." Waldburger, 134 5. Ct. at 2189 (Scalia, J.,
concurring). The same is true of the FDIC Extender Statute, but, to the extentthe presumption does apply, it counsels
against preemption.

                                                         -17-
              Case 1:14-cv-00129-XR Document 59 Filed 08/18/14 Page 18 of 18



remaining Defendants in this case. The latest claim brought by the FDIC in this case was

extinguished by the statute of repose on December 30, 2010, five years from the date Guaranty Bank

purchased the securities. The FDIC has therefore failed to state any claim for which relief can be

granted.

           Accordingly,

                      IT IS ORDERED that Defendants Goldman, Sachs & Co. and Deutsche Bank

            Securities Inc.'s Motion for Judgment on the Pleadings [#51] is GRANTED;

                      IT IS FINALLY ORDERED that all remaining claims brought by Plaintiff Federal

           Deposit Insurance Corporation in the above-styled cause are DISMISSED WITH

           PREJUDICE as time-barred by the Texas Securities Act's statute of repose.

            SIGNED this the f        day of August 2014.




                                                           UNITED STATES DISTRICT JUDGE




129   motjudg pldgs ord kkt.frm                     18
